Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page1of 23 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
JULIE TILTON, ee
NICOLE BREITFELLER, and CASE NO. 5074-007 3A-T- 30 MAP
TABITHA GAUTREAUX,
Plaintiffs, COMPLAINT
vs. DEMAND FOR JURY TRIAL

JOSEPH R. FRANCIS, MRA HOLDINGS, L.L.C.,
MANTRA FILMS, INC. d/b/a Girls Gone Wild,

AMX PRODUCTIONS, L.L.C, d/b/a AMX Video

a/k/a GM Video a/k/a George Martin Video

a/k/a Action Matrix, a/k/a Aztec Media Co., and
SVOTHI, INC. d/b/a PPVNetworks a/k/a Nakedontv.com

Defendants.

COMPLAINT

The Plaintiffs, Julie Tilton, Nicole Breitfeller, and Tabitha Gautreaux (the

“Plaintiffs’), hereby sue the defendants identified herein and allege as follows:
The Parties

1. Joseph R. Francis is a resident of Nevada, and is the founder, CEO, and
sole shareholder of Mantra Films, Inc. and MRA Holdings, L.L.C. (referred to
collectively herein as “the Companies”).

2. Mantra Films, Inc., d/b/a Girls Gone Wild, an Oklahoma Corporation, has
its corporate office in Santa Monica, California.

3. MRA Holdings, L.L.C. is a California limited liability corporation.
Case 8:07-cv-00432-JSM-MAP Document1_ Filed 03/09/07 Page 2 of 23 PagelD 2

4, AMX Productions, L.L.C. is a Colorado corporation, d/b/a AMX Video,
and conducts business in the State of Florida.

5. Svothi, Inc. is a New York corporation, d/b/a PPVNetworks and
nakedontv.com

Jurisdiction and Venue

6. The Court has subject-matter jurisdiction over this matter pursuant to 28
U.S.C. §1331 and 18 U.S.C. §2255(a), and has supplemental jurisdiction over this matter
pursuant to 28 U.S.C. §1367(a).

7. The Court has personal jurisdiction over each of the Defendants because
each Defendant: (a) is a resident or citizen of Florida; or (b) pursuant to Fla. Stat. §
48.193, each Defendant either: (i) operates, conducts, engages in, or carries on business
or a business venture in Florida or has an office, registered business entity or agent in
Florida; (ii) committed a tortuous act within Florida; or (iii) caused injury to Plaintiffs in
Florida by acts or omissions committed by the Defendant outside Florida while the
Defendant was engaged in solicitation or service activities within Florida or (iv) products,
materials, or things processed, serviced, produced or manufactured by the Defendant
were used or consumed in Florida in the ordinary course of commerce, trade, or use, and
caused harm to the Plaintiffs.

8. Venue is proper in the Middle District of Florida because a substantial part
of the events giving rise to the claims stated herein occurred in the Middle District of

Florida and within the Tampa Division, as per Local Rule 1.02.

268454 2
Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page 3 of 23 PagelD 3

9. Venue would also be proper in the Northern District of Florida, in that
Defendants Mantra Films, Inc., MRA Holdings, L.L.C., and Joseph R. Francis were
prosecuted criminally in the Northern District of Florida for portraying minors in
sexually-explicit videos, albeit to the best of the Plaintiffs’ knowledge, Plaintiffs images
on any video was not part of the factual basis for the prosecution.

General Allegations Common to All Counts

10. During March of 2001, various “contests” {the “Comtests”) were
conducted at the Desert Inn in Daytona Beach, Florida during the Florida high school
“Spring Break” vacation season.

11. The Contests included, but were not limited to, the following:

(a) Wet T-shirt Contest;

(b) Sexual Positions Contest;
(c) Banana Sucking Contest;
(d) Muff Eating Contest and
(e) Screaming Orgasm Contest.

12. Each of the Contests included sexually-explicit conduct and subjected
participants to demeaning, degrading, inappropriate, exploitive and illegal conduct.

13. In March 2001, all Plaintiffs participated in the Wet T-shirt Contest, and
while doing so engaged in sexually explicit conduct.

14. In March 2001, Plaintiff Julie Tilton also participated in the Wet T-shirt
Contest, the Muff Eating Contest, the Banana Sucking Contest, and the Sexual Positions

Contest.

8454
26! 3
Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 4 of 23 PagelD 4

15. While the Plaintiffs participated in the Contests and engaged in sexually-
explicit conduct, the Plaintiffs were videotaped by various entities and individuals,
including but not limited to, Goldrush/Barton (the “Barton Tapes”), FFPI/Prewitt (the
“Prewitt Tapes”), and Ciani, Weitz and others (collectively the “Bikinivoyeur Tapes”).

16. During their participation in the Contests, the Plaintiffs were each
videotaped in the presence of other individuals performing and simulating various
sexually-explicit acts.

17. The sexually-explicit videotaped conduct of the Plaintiffs during the
Contests includes, but is not limited to, conduct included within the scope of the
following:

(a) ‘Sexually-explicit conduct” as defined by 18 U.S.C. §2256(2)(A)Q);

(b) “Sexually-explicit conduct” as defined by 18 U.S.C. §2256(2){A)(iii);

(c) “Sexually-explicit conduct” as defined by 18 U.S.C. §2256(2)(A)(v);

(d) A “sexual performance by a child” as defined by Fla. Stat.
§827.071(1)(b);

(e) “Sexual conduct” as defined by Fla. Stat. §827.071(1)(g);

(f) A “sexual performance” as defined by Fla. Stat. §827.071(1)(h);

(g) “Simulated sexual conduct” as defined by Fla. Stat. §827.071(1)(i).

18. When the Plaintiffs participated in the Contests in March 2001 and were
videotaped, Plaintiffs were minors, i.e. under the age of 18.

19, The Plaintiffs were not required to provide, and did not provide, proof of

age before participating in the Contests, nor did they do so during the Contests,

68454
2 4
Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page5of 23 PagelID5

20. The videotapes and the other visual depictions of the Plaintiffs engaged m
sexually-explicit conduct constitute “child pornography” as defined by 18 U.S.C.
§2256(8)(A), and knowing possession of such visual representations of a minor is
unlawful under Fla. Stat. §827.071(5).

21. The Plaintiffs have retained the following attorneys to represent them in
this matter, and are obligated to pay those attorneys a reasonable fee for their respective
services: Litigation Concepts, L.L.C. (Richard S. Shankman, Esq.), and The Solomon
Tropp Law Group, P.A.

22. _ All conditions precedent to the filing of this action have occurred or been

waived,

Count 1: Violation of 18 U.S.C. § 2252(a)
MRA Holdings, L.L.C.; Mantra Films; Joseph R. Francis

23. Paragraphs 1 through 22 are incorporated herein by reference.

24. This claim is brought pursuant to 18 U.S.C. §2255(a) against MRA
Holdings, L.L.C.; Mantra Films, Inc., d/b/a/ Girls Gone Wild (“the Companies’); and
Joseph R. Francis, as the alter ego of the companies, for violations of 18 U.S.C. §2252(a).

25. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were obtained
from AMX and/or other sources, and mailed, shipped, and/or transported in interstate
commerce to the companies, and incorporated by the companies into videos (“the

Companies’ Videos”’).

268454 5
Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page 6 of 23 PagelD 6

26. After the companies purchased the video materials from AMX, the
companies created the companies’ videos, incorporating images of the Plaintiffs engaged
in sexually explicit conduct, as defined by 18 U.S.C. § 2256(2), from the AMX videos.

27. The companies produced the companies’ videos without determining
whether AMX had ensured that none of the persons in the video who were engaged in
explicit sexual conduct, or were filmed among persons engaged in such conduct, were
under the age of 18.

28. | The companies produced the companies’ videos containing images of the
Plaintiffs without determining the ages of the Plaintiffs at the time the Plaintiffs’ images
were videotaped while Plaintiffs were engaged in, and were filmed in the presence of
others who were engaged in, sexually explicit conduct.

29. The companies’ advertisements for those videos contained images of the
Plaintiffs and of other individuals engaged in sexually explicit conduct.

30. At the time the companies mailed, transported, shipped or distributed the
company videos, the companies were consciously and/or willfully ignorant of the fact
that the companies’ videos depicted minors, including the Plaintiffs, engaging in
sexually-explicit conduct.

31. The companies, aided by others, produced the companies’ videos, which
contained one or more visual depictions of actual sexually explicit conduct by Plaintiffs,
from materials shipped in Interstate commerce, without maintaining individually
identifiable records pertaining to every performer portrayed in such visual depictions, in

violation of 18 U.S.C. §2257(f)(1) and 28 CFR §75.

268454 6

Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page 7 of 23 PagelD 7

32. The companies knowingly sold or otherwise transferred, and offered for
sale and transfer, the companies’ videos which contained visual depictions of actual
sexually explicit conduct and which were produced in whole or in part with materials
which had been mailed or shipped in interstate and foreign commerce, and failed to
identify thereon the location of the records showing identifiable age and identification
records documenting that performers were at least 18 years of age, required by 18 U.S.C.
§ 2257(f(4).

33. The above-described acts of the companies were committed with reckless
disregard for, or conscious indifference of, the laws of the United States, the
consequences of those acts, the exploitive nature of those acts and the illegal nature of
those acts.

34, The above-described acts of the companies constitute violations of 18
U.S.C. §2252(a).

35. As a direct result of the violation of 18 U.S.C. §2252(a), the Plaintiffs
have suffered personal injury and other damages.

36. Pursuant to 18 U.S.C. §2255(a), the Plaintiffs are entitled to recover
damages, their attorneys’ fees, expert witness fees and costs incurred as a result of any
violation of 18 U.S.C. §2252(a).

WHEREFORE, Plaintiffs demand judgment against the defendant companies and
Joseph R. Francis for damages (including punitive damages), all remedies available under
18 U.S.C. §2255(a), prejudgment and post-judgment interest, attorneys’ fees, expert

witness fees, costs and any other relief deemed appropriate by the Court.

268454 7

Case 8:07-cv-00432-JSM-MAP Documenti1_ Filed 03/09/07 Page 8 of 23 PagelD 8

Count 2: Violation of 18 U.S.C. §2252A(a)
MRA Holdings, L.L.C.; Mantra Films, Inc.; Joseph R. Francis

37. Plaintiffs incorporate herein the allegations of 41 - 22 and 25 - 434
above.

38. This claim is brought pursuant to 18 U.S.C. §2255(a) against MRA
Holdings, L.L.C., Mantra Films, Inc., d/b/a/ Girls Gone Wild (collectively “the
companies”), and Joseph R. Francis for violations of 18 U.S.C. §2252A(a).

39. After the companies created the companies’ videos, the companies
knowingly mailed, transported, shipped or distributed the companies’ videos, in whole or
in part, in interstate or foreign commerce.

40. ‘At the time the companies mailed, transported, shipped or distributed the
companies’ videos, they had knowledge or willfully ignorant of the fact that the
companies’ videos depicted minors engaged in sexually-explicit conduct, and constituted
child pornography.

41. The above-described acts of the companies constituted violations of 18
U.S.C. §2252A(a).

42. Asa result of the violations of 18 U.S.C. 92252A(a), the Plaintiffs have
suffered personal injury and other damages.

43, Pursuant to 18 U.S.C. §2255(a) and 18 U.S.C. §2252A(f, the Plaintiffs
are entitled to recover damages, their attorneys’ fees, expert witness fees and costs

incurred for each violation of 18 U.S.C, §2252A(a).

268454 8
Case 8:07-cv-00432-JSM-MAP Document1_ Filed 03/09/07 Page 9 of 23 PagelD 9

WHEREFORE, Plaintiffs demand judgment against the defendants named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§2255(a) and 18 U.S.C. §2252A(f), prejudgment and post-judgment interest, attorneys’
fees, expert witness fees, costs and any other relief deemed appropriate by the Court.

Count 3: Violation of 18 U.S.C. §1466A(a)(1)
MRA Holdings, L.L.C.; Mantra Films, Inc.; Joseph R. Francis

44. _ Plaintiffs incorporate herein the allegations of {1 - 22 and 425 - 134
above.

45. This claim is brought pursuant to 18 U.S.C. §2255(a) against MRA
Holdings, L.L.C.; Mantra Films, Inc., d/b/a/ Girls Gone Wild (collectively “the
companies”); and Joseph R. Francis as the alter ego for the companies, for violations of
18 U.S.C. §1466(a)(1).

46. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were mailed,
shipped, and/or transported in interstate commerce from AMX and/or other sources, and
incorporated by the companies into videos (“the companies’ videos’’).

47, The companies knowingly produced, distributed, received or possessed
with the intent to distribute, the companies’ videos depicting Plaintiffs in sexually
explicit conduct which occurred while the Plaintiffs were still minors, in violation of 18
U.S.C. § 1466(a)(1).

48. The companies videos depict the Plaintiffs engaged in sexually-explicit

conduct , as defined in 18 U.S.C. § 2256(2)(B).

268454 9
Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 10 of 23 PagelD 10

49, The companies videos depict the Plaintiffs engaged in sexually-explicit
conduct, as defined in 18 U.S.C. § 2256(2)(A).

50. The companies mailed, shipped or transported the companies’ videos, in
whole or in part, in interstate or foreign commerce.

51. The companies engaged in communications or transportation by mail in
furtherance of the receipt, possession, distribution, and/or production of the companies’
videos.

52. Due to the violations of 18 U.S.C. § 1466A(a)(1) , the Plaintiffs have
suffered personal injury and other damages.

53. Pursuant to 18 U.S.C. § 2252A(f), the Plaintiffs are aggrieved parties and
are entitled to recover damages, their attorneys’ fees, expert witness fees, and costs
incurred as a result of each violation of 18 U.S.C. § 1466A(a)(1).

WHEREFORE, Plaintiffs demand judgment against the defendant companies and
Joseph R. Francis for damages (including punitive damages), all remedies available under
18 U.S.C. § 2252A(f), prejudgment and post-judgment interest, attorneys’ fees, expert
witness fees, costs and any other relief deemed appropriate by the Court.

Count 4: Violations of 18 U.S.C. §2252(a)
AMX Productions, L.L.C.

54. Plaintiffs incorporate herein the allegations of J1 - 422 and 425 - 434

above.
55. This a claim brought pursuant to 18 U.S.C. §2255(a) against AMX for

violations of 18 U.S.C. §2252(a).

268454 10
Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 11 of 23 PagelD 11

56. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were mailed,
shipped, and/or transported in interstate commerce to AMX.

57. After AMX purchased the video material referenced in paragraph 55,
AMX created videos which incorporated the images of the Plaintiffs engaged in sexually
explicit conduct (the AMX videos), as defined by 18 U.S.C. § 2256(2), and knowingly
transported or shipped the AMX videos in interstate or foreign commerce.

58. AMX produced the AMX videos containing images of the Plaintiffs
engaged in sexually explicit conduct without determining the ages of the Plaintiffs at the
time Plaintiffs’ images were videotaped while Plaintiffs were engaged in, and in the
presence of others who were engaged in, the sexually explicit conduct .

59. AMX produced the AMX videos without determining whether any of the
persons in the video were under the age of 18.

60. AMX produced the AMX videos containing one or more visual depictions
of actual sexually explicit conduct by Plaintiffs, in whole or in part with materials
shipped in interstate commerce, but did not maintain individually identifiabie records
pertaining to every performer portrayed in such visual depictions, in violation of 18

ULS.C. § 2257()(1) and 28 CFR § 75.

61. AMX knowingly sold, or otherwise transferred and offered for sale and
transfer, the AMX videos, which were produced in whole or in part with materials which
had been mailed or shipped in interstate and foreign commerce, and failed to identify on

the AMX videos the location of the documentation showing identifiable age and

268454 1 1
Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 12 of 23 PagelD 12

identification records documenting that performers were at least 18 years of age, as
required by 18 U.S.C. § 2257(f)(4), and did not meet the record keeping requirements of
28 C.F.R. § 75 with respect to the AMX videos.

62. At the time AMX mailed, transported, shipped or distributed the AMX
videos, AMX knew or was willfully ignorant of the fact that the AMX videos depicted
minors, including the Plaintiffs, engaging in sexually-explicit conduct.

63. AMX produced the videos containing images of the Plaintiffs without
determining the ages of the Plaintiffs at the time Plaintiffs’ images were videotaped while
Plaintiffs were engaged in, and in the presence of others who were engaged in, sexually
explicit conduct.

64. AMX Video knowingly transmitted, re-transmitted, transmuted, broadcast,
re-broadcast, distributed or disseminated the AMX videos in interstate or foreign
commerce.

65. The aforementioned transmission, re-transmission, transmutation,
broadcast, re-broadcast, distribution or dissemination of the AMX videos in interstate or
foreign commerce involved use of the wire and cable systems of the United States, the
United States mail and equipment owned or leased by AMX.

66. At the time AMX transmitted, re-transmitted, transmuted, broadcast, re-
broadcast, distributed or disseminated the AMX videos, it had positive knowledge or was
willfully ignorant of the fact that the AMX videos depicted minors, including the

Plaintiffs, engaging in sexually-explicit conduct and constituted child pornography.

268454 12

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 13 of 23 PagelD 13

67. The above-described acts of AMX were committed with reckless
disregard for or conscious indifference to the laws of the United States, the consequences
of those acts, the exploitive nature of those acts and the illegal nature of those acts.

68. The above-described acts of AMX constitute violations of 18 U.S.C.
§2252(a).

69. As a result of the violation of 18 U.S.C. §2252(a), the Plaintiffs have
suffered personal injury and other damages.

70. Pursuant to 18 U.S.C. §2255(a), the Plaintiffs are entitled to recover
damages, their attorneys’ fees, expert witness fees and costs incurred as a result of any
violation of 18 U.S.C. §2252(a).

WHEREFORE, Plaintiffs demand judgment against AMX for damages (including
punitive damages), all remedies available under 18 U.S.C. §2255(a), prejudgment and
post-judgment interest, attorneys’ fees, expert witness fees, costs and any other relief
deemed appropriate by the Court.

Count 5: Violations of 18 U.S.C. §2252A(a)
AMX Productions, L.L.C.

71. Plaintiffs incorporate herein the allegations of J1 - [22 and 925 - 34
above.
72. This a claim brought pursuant to 18 U.S.C. §2255{a) and 18 U.S.C.

§2252A(f) against AMX for violations of 18 U.S.C. §2252A(a).

268454 13

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 14 of 23 PagelD 14

73. AMX and its agents produced the AMX videos using video materials
obtained from other sources and depicting Plaintiffs participating in the Contests and
engaging in sexually-explicit conduct.

74. | The materials received by AMX and incorporated into the AMX videos
were received, shipped or transported to AMX in interstate commerce.

75. In producing the AMX videos, AMX and/or its agents reproduced, edited,
assembled, modified, transmuted and otherwise manipulated video materials, obtained
from other sources, which included reproduced and incorporated materials containing
images of the Plaintiffs engaged in sexually-explicit conduct. The AMX videos were
produced, in part, for use and sale on subscription pornographic websites.

76, AMX and/or its agents knowingly advertised, promoted, presented, and
distributed through the mail, in interstate and/or foreign commerce, the AMX video
materials which included images of the Plaintiffs engaged in sexually explicit conduct,
and presented the AMX videos for viewing and sale on subscription pornographic
websites.

77. AMX and/or its agents mailed, transported, shipped or distributed the
AMX videos and portions thereof, in interstate or foreign commerce.

78. At the time AMX and/or its agents mailed, transported, shipped,
distributed and/or broadcast the AMX videos and portions thereof, they knew or were
willfully ignorant of the fact that the AMX videos disseminated contained images of the

Plaintiffs engaging in sexually-explicit conduct and constituted child pornography.

268454 14

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 15 of 23 PagelD 15

79. The above-described acts of AMX Video and/or its agents constitute
violations of 18 U.S.C. §2252A(a).

80. The above-described acts of AMX and/or its agents were intentional or
were committed with reckless disregard for, or conscious indifference of, the laws of the
United States, the consequences of those acts, the exploitive nature of those acts and the
illegal] nature of those acts.

81. Asa result of the violations of 18 U.S.C. §2252A(a), the Plaintiffs have
suffered persona! injury and other damages.

82. Pursuant to 18 U.S.C. §2255(a) and 18 U.S.C. §2252A(f), the Plaintiffs
are entitled to recover damages, their attorneys’ fees, expert witness fees and costs
incurred as a result of each violation of 18 U.S.C. §2252A(a).

WHEREFORE, Plaintiffs demands judgment against the defendant named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§2255(a) and 18 U.S.C. §2252A(f), prejudgment and post-judgment interest, attorneys’
fees, expert witness fees, costs and any other relief deemed appropriate by the Court.

Count 6:_Violations of 18 U.S.C. §1466A(a)(1)
(AMX Video Productions)

83. Plaintiffs incorporate herein the allegations of {1 - 922 and 425 - 934
above.

84. This a claim brought pursuant to 18 U.S.C. § 1466A(a)(1) against AMX
Video Productions (“AMX”).

85. AMX knowingly produced, distributed, received or possessed with the

intent to distribute videos (“AMX videos”) depicting Plaintiffs in sexually explicit

268454 15

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 16 of 23 PagelD 16

conduct which occurred while the Plaintiffs were still minors, in violation of 18 U.S.C. §
1466A(a)(1).

86. | AMX videos depict the Plaintiffs engaged in sexually-explicit conduct , as
defined in 18 U.S.C. § 2256(2)(B), and are obscene.

87. The AMX videos depict the Plaintiffs engaged in sexually-explicit
conduct , as defined in 18 U.S.C. § 2256(2}(A).

88. AMX mailed, shipped or transported the AMX videos, in whole or in part,
in interstate or foreign commerce.

89. AMX engaged in communications or transportation by mail in furtherance
of the receipt, possession, distribution, and/or production of the AMX videos, and video
materials used to produce the AMX videos.

90. As a result of the violations of 18 U.S.C. § 1466A(a)(1), the Plaintiffs
have suffered personal injury and other damages.

91. Pursuant to 18 U.S.C. § 2252A(f), the Plaintiffs are aggrieved parties and
are entitled to recover damages, their attorneys’ fees, expert witness fees, and costs
incurred as a result of each violation of 18 U.S.C. § 1466A(a)(1).

WHEREFORE, Plaintiffs demand judgment against the defendant named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§ 2252A(f), prejudgment and post-judgment interest, attorneys’ fees, expert witness fees,

costs and any other relief deemed appropriate by the Court.

268454 16

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 17 of 23 PagelD 17

Count 7: Violations of 18 U.S.C. § 2252A(a)
(SVOTHI, INC.)

92. Plaintiffs incorporate herein the allegations of {1 - 22 and 25 - 934
above.

93. This is a claim brought pursuant to 18 U.S.C. §2255(a) and 18 U.S.C.
§2252A(f) against SVOTHI, Inc. (“SVOTHI”) for violation of 18 U.S.C. §2252A{a).

94, Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were mailed,
shipped, and/or transported in interstate commerce from AMX and/or other sources, to
SVOTHL

95. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), mailed, shipped,
and/or transported in interstate commerce from AMX and/or other sources, to SVOTHI,
were advertised for sale on one or more web sites, including nakedontv.com.

96. The AMX videos and/or portions thereof, and pictures of Plaintiffs among
pictures of others engaged in pornographic acts, were displayed by SOTHVI, INC or by
agents acting on its behalf, on the website nakedontv.com.

97. SVOTHI knowingly mailed, transported, shipped or distributed the AMX
videos, in whole or in part, in interstate or foreign commerce.

98. At the time SVOTHI mailed, transported, shipped or distributed the AMX
videos, it had knowledge or was willfully ignorant of the fact that the AMX videos
depicted minors engaged in sexually-explicit conduct, and contained sexually-explicit

conduct by others, and constituted child pornography.

268454 17

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 18 of 23 PagelD 18

99. The above-described acts of SVOTHI constituted violations of 18 U.S.C.
§2252A(a).

100. As a result of the violations of 18 U.S.C. §2252A(a), the Plaintiffs have
suffered personal injury and other damages.

101. Pursuant to 18 U.S.C. §2255(a) and 18 U.S.C. §2252A(f), the Plaintiffs
are entitled to recover damages, their attorneys’ fees, expert witness fees and costs
incurred as a result of each and every violation of 18 U.S.C. §2252A(a).

WHEREFORE, Plaintiffs demand judgment against the defendant named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§2255(a) and 18 U.S.C. §2252A(f), prejudgment and post-judgment interest, attorneys’
fees, expert witness fees, costs and any other relief deemed appropriate by the Court.

Count 8: Violations of 18 U.S.C. §1466A(a)(1)
(SVOTHI, Inc.}

102. Plaintiffs incorporate herein the allegations of J1 - 422 and {25 - 434
above.

103. This a claim brought pursuant to 18 U.S.C. § 2252A(f) against SVOTHI,

104. SVOTHI, Inc. distributed, received or possessed with the intent to
distribute the AMX videos depicting Plaintiffs in sexually explicit conduct which
occurred while the Plaintiffs were still minors.

105. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were mailed,

shipped, and/or transported in interstate commerce from AMX and/or other sources, to

268454 1 8

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 19 of 23 PagelD 19

SVOTHI, and those materials were advertised for sale on one or more web sites,
including nakedontv.com.

106. The AMX videos and/or portions thereof, showing Plaintiffs engaged in
sexually explicit conduct, and in the presence of others engaged in sexually explicit
conduct, and pictures of Plaintiffs among pictures of others engaged in pornographic acts,
were displayed by SOTHVI, INC or by agents acting on its behalf, on the website
nakedontv.com.

107. The AMX videos depicted the Plaintiffs engaged in sexually-explicit
conduct, as defined in 18 U.S.C. § 2256(2)(A).

108. The AMX videos depicted the Plaintiffs engaged in sexually-explicit
conduct, as defined in 18 U.S.C. § 2256(2)(B).

109. SVOTHI, Inc. mailed, shipped or transported the AMX videos, in whole
or in part, in interstate or foreign commerce.

110. At the time SVOTHI, Inc. mailed, shipped or transported the AMX
Videos, it knew or was willfully ignorant of the fact that the Plaintiffs were minors when
Plaintiffs engaged in the sexually explicit conduct on the AMX videos.

111. The acts of SVOTHI, Inc. constituted the knowing distribution of child
pomography and violations of 18 U.S.C. § 1466A(a)(1).

112. Asa result of the violations of 18 U.S.C. § 1466A(a){1), the Plaintiffs

have suffered personal injury and other damages.

268454 19
Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 20 of 23 PagelD 20

113. Pursuant to 18 U.S.C. § 2252A(f), Plaintiffs are aggrieved parties and are
entitled to recover damages, their attorneys’ fees, expert witness fees, and costs incurred
as a result of each violation of 18 U.S.C. § 1466A(a)(1).

WHEREFORE, Plaintiffs demand judgment against the defendant named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§ 2252A(f), prejudgment and post-judgment interest, attorneys’ fees, expert witness fees,
costs and any other relief deemed appropriate by the Court.

Count 9: Violations of 18 U.S.C. §2252(a
SVOTHL, INC.

114. Plaintiffs incorporate herein the allegations of 41 - (22 and 425 - 434
above.

115. This a claim brought pursuant to 18 U.S.C. §2255(a) against SVOTHI,
Inc. (“SVOTHI”) for violations of 18 U.S.C. §2252(a).

116. The AMX videos containing visual depictions of the Plaintiffs, while still
minors, engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were
transported or shipped in interstate and/or foreign commerce by SVOTHI..

117. The AMX videos were shipped to SOTHVI in interstate or foreign
commerce.

118. SVOTHI knowingly received and distributed visual depictions of the
Plaintiffs which had been mailed, shipped or transported in interstate or foreign
commerce, or which contained materials which had been mailed, shipped or transported
in interstate or foreign commerce, and which depicted Plaintiffs, while still minors,

engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a).

268454 90

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 21 of 23 PagelD 21

119. The AMX videos containing sexually explicit images of the Plaintiffs did
not include notification of the location of documentation showing identifiable age and
identification records documenting that performers were at least 18 years of age, as
required by 18 U.S.C. § 2257(f)(4), nor did they have affixed a statement that all
performers in the videos were 18 years of age or older.

120. Video materials of the Contests, showing the Plaintiffs, while still minors,
engaging in sexually-explicit conduct, as defined by 18 U.S.C. 2256(a), were mailed,
shipped, and/or transported in interstate commerce from AMX and/or other sources, to
SVOTHI, and those materials were advertised for sale on one or more web sites,
including nakedontv.com.

121. The AMX videos and/or portions thereof, showing Plaintiffs engaged in
sexually explicit conduct and in the presence of others engaged in sexually explicit
conduct, and still pictures of Plaintiffs among still pictures of others engaged in
pornographic acts, were displayed by SOTHVI, INC or by agents acting on its behalf, on
the website nakedontv.com.

122. At the time SOTHVI mailed, transported, shipped or distributed the
company videos, SOTHI knew or was willfully ignorant of the fact that the company
videos depicted minors, including the Plaintiffs, engaging in sexually-explicit conduct.

123. SOTHVI knowingly sold or otherwise transferred and offered for sale and
transfer, the AMX videos which contained visual depictions of actual sexually explicit
conduct and which were produced in whole or in part with materials which had been

mailed or shipped in interstate and foreign commerce, and failed to ensure that thereon

268454 31

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 22 of 23 PagelD 22

was the location of the documentation showing identifiable age and identification
records documenting that performers were at least 18 years of age, required by 18 U.S.C.
§ 2257(f)(4) and did not meet the record keeping requirements of 28 C.F.R. § 75 with
respect to materials.

124. The above-described acts of SOTHVI were committed with reckless
disregard for or conscious indifference of the laws of the United States, the consequences
of those acts, the exploitive nature of those acts and the illegal nature of those acts.

125. The above-described acts of SOTHVI constitute violations of 18 U.S.C.
§2252(a).

126. As a result of the violation of 18 U.S.C. §2252(a), the Plaintiffs have
suffered personal injury and other damages.

127. Pursuant to 18 U.S.C. §2255(a), the Plaintiffs are entitled to recover
damages, their attorneys’ fees, expert witness fees and costs incurred as a result of any
violation of 18 U.S.C. §2252(a).

WHEREFORE, Plaintiffs demand judgment against the defendant named in this
count for damages (including punitive damages), all remedies available under 18 U.S.C.
§2255(a), prejudgment and post-judgment interest, attorneys’ fees, expert witness fees,

costs and any other relief deemed appropriate by the Court.

268454 99

Case 8:07-cv-00432-JSM-MAP Document1 Filed 03/09/07 Page 23 of 23 PagelD 23

Demand for Jury Trial Under Rule 38(b)

Plaintiffs demand a jury trial on all issues so triable.

Respectfully submitted,

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268454 2 3
